          Case 1:15-cr-00286-ADA-BAM Document 399 Filed 01/18/19 Page 1 of 2



 1 [McGREGOR W. SCOTT
    United States Attorney
 2 KAREN A. ESCOBAR
    Assistant United States Attorney
 3 2500 Tulare St., Suite 4401
    Fresno, CA 93721
 4 Telephone: (559) 497-4000
    Facsimile: (559) 497-4575
 5
    Attorneys for Plaintiff
 6 United States of America

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:15-cr-00286-DAD-BAM
12                                Plaintiff,            STIPULATION REGARDING
                                                        CONTINUANCE; ORDER
13             v.
     ZAID ELODAT,
14
                                  Defendant.
15

16
                                               STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18

19 and through his counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for sentencing on Monday, April 29, 2019, at

21 10:00 a.m.

22          2.     By this stipulation, the parties now move to continue the matter to Monday,
23
     September 30, 2019, at 10:00 a.m.
24
            3.     The parties further stipulate to the following schedule:
25
            Informal Objections Due:                                           August 5, 2019
26

27          Final PSR Filed with the Court:                                    August 12, 2019

28          Formal Objections to PSR/Sentencing Memo due:                      August 19, 2019
                                                 1
          Case 1:15-cr-00286-ADA-BAM Document 399 Filed 01/18/19 Page 2 of 2


           Responses to Formal Objections/Reply to Sentencing Memo:             August 26, 2019
 1
           IT IS SO STIPULATED.
 2

 3
     DATED:        January 17, 2019      Respectfully submitted,
 4
                                         McGREGOR W. SCOTT
 5                                       United States Attorney

 6
                                         /s/ Karen A. Escobar
 7                                       KAREN A. ESCOBAR
                                         Assistant United States Attorney
 8

 9 DATED:          January 17, 2019

10                                       /s/ Edward Robinson
                                         EDWARD ROBINSON
11                                       Counsel for Defendant
                                         Zaid Elodat
12

13                                               ORDER

14         For the reasons stated in the parties’ stipulation, the sentencing hearing scheduled for April
15 29, 2019, at 10:00 a.m. is hereby continued to September 30, 2019 at 10:00 a.m.

16

17 IT IS SO ORDERED.

18      Dated:    January 18, 2019
                                                      UNITED STATES DISTRICT JUDGE
19

20

21

22

23

24

25

26

27

28
                                                      2
